             Case 3:21-cv-00259-DCG-JES-JVB          Document 962-21      Filed 05/07/25      Page 1 of 1




                                                      Exhibit 21
                          Designations of Deposition Testimony of JM Lozano (July 12, 2022)


             Plaintiffs’ Affirmative Designations                          Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’      Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                              Objections
       23:7                   23:12
       51:6                   51:14
       76:23                   77:2
       80:25                  82:13
       86:20                  86:23
       87:14                  87:21
       89:5                    89:9
       89:16                  89:18
       97:17                  97:21




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